Case 2:16-cv-08697-FMO-PVC   Document 171-20    Filed 11/17/17   Page 1 of 5 Page
                                  ID #:2488




                             EXHIBIT 20




                                     386
                                   EXHIBIT 20
       Case 2:16-cv-08697-FMO-PVC                             Document 171-20           Filed 11/17/17     Page 2 of 5 Page
                                                                   ID #:2489


                                                        D
            ATTESTATION OF RISK AJUSTMENT DATA INFORMATION RELATING TO
                CMS PAYMENT TO A MEDICARE ADVANTAGE ORGANIZATION


                Pursuant t:c, the contracts between the Centers for Medicare & Medicaid Services (CMS)
        and the UnitedHealth Group affiliates listed in Attachment 1, hereafter referred to as the MA
        Organization, governing the operation of the Medicare Advantage and Medicare Advantagew
        Prescription Drug plans listed in Attachment 1, the l\,LA. Organization hereby requests payment
        under thecontract and� in doing so, makes the following attestation concerning CMS payments
        to the MA Organization.* The MA Organization acknowledges that the information described
        below directly affects the calculation of CMS payments to the MA Organization or additional
        benefit obligations of the MA Organization and that misrepresentations to CMS about the
        accuracy of such information may result in Federal civil action and/or criminal prosecution.

                The MA Organization has reported to CMS for the period of January 1,201 l to
        December 31, 201 l, all risk adjustment data for 2011 dates of service available to the Ml\
        Organization as of January 31, 2013, v...i.th respect to the MA and MA-PD plans listed in
        Attachment 1. Based on best knowledge, information, and belief as of the date indicated below�
        an information submitted to CMS in such report and not subsequently deleted prior to the date
        hereof is accurate, complete, and truthfuL **


                                                                        ·�·��·�· .
                                                                        NAME: ScottTheisen
                                                                        TITLE: Chief Financial Officer,
                                                                                  UnitedHealthcare Medicare & Retirement
                                                                        On behalf of the UnitedHealth Group
                                                                        entities listed in Attachment A


                                                                        DATE


        * This Certification is based on facts reasonably available or made available to the MA Organization as of the date
        of this Certification and is not to be construed as a representation by the entities listed in Attachment I, their
        affiliates, officers, representatives, or agents that the data to which the Certification relate may not require
        subsequent modification should additional information become available, Best knowledge. infonnation, and belief
        means based on nonna.l business practices.
        ** The MA Organization is engaged in a review of its risk adjustment processes and submission system, This
        review has identified areas for improvement and, as a result, we will be deleting all risk adjustment data for 2011
        dates of.service that, to our knowledge, were inappropriately submitted.




        Prolected from Disclosure Under Federal Law.
        Exemptfrom the rrce<lomoflnformation Act. ;;;£1< 5 U.S.C:. §552(b).
        Contains Confidential Commercial/financial and Other Protected lnfonnation.




                                                                             387
CO NFI DENTIAL AND PROPRIETARY                                            EXHIBIT 20                                     MARA2100775
FOIAEXEMPT
       Case 2:16-cv-08697-FMO-PVC           Document 171-20         Filed 11/17/17      Page 3 of 5 Page
     Attachment A                Risk Adjustment Attestation
                                                  ID #:2490  Contracts • 20"11                       1
                                            Medicare Retirement




                    H0408            UN!TEOHSALTHCARE·INSURANCE COMPANY
                    H054$            PACIFICARE OF CAIJFQRNlA
                    HO&OO            PACIF.1 AR!= QF COLQRADQ, tNC
                    H0620            UNITEOHEALTHCARE INSURANCE COMPANY

                    H0755            OXFORD HsAhTHPLAN$ (CT), ·tNC,
                    H0110            UNITEDHEALTHCARE INSURANCE C        PANY


                    H1108            UNITEDHEALTHCAREINSURANCE COMPANY

                    H1286            UNITE;DHE,l,\!,,THCAR!2 INSURANCE CPMPANY
                    H1303            UNITEDHEALTHCARE INSURANCE COMPANY

                                                   T
                    H1944            UNITEDHEAL HCARe, INSURANCECOMPANY
                    Hioo1            UNITEDHEALTHCARE 1N$URANCE COMPANY
                    H2111            UNITEDHEALTHCAl'{E INSURANCE CQMPANY
                    H2182            UNITEDHEALTHCARI:: INSURANCE COMPANY
                    H2226            UNITEOHEALTHCARE.INSVRANCE. MPANY
                    H2228            UNITEOHEALTHCARE IN:SURANCE COMPANY
                    H2406            UNITEOHEALTHCARE INSURANCE COMPANY
                    142654.          UNffEDHEALTHCARE OF THE MIDWEST, INC.




                                                  T
                    H3!;!59          UNITl;DHEAL HCARE OF OHIO, INC.
                    H3749            PA.CfFICARE OF OKLAHOMA, INC.

                    H3812
                    H3887
                    H3'112           UNITEDHl:ALTHCARE INSURANCE COMPANY
                    H3921            UNITEDHEALTHCARE INSURANCE COMPANY
                    H4102            UNITEDHEALTHCARE OF NEW ENGLAND, INC.
                    H-4406           UNITEDHEALTHCARE OF TENNESSEE, INC.
                    H4456            IJNITEDHEALTHCARE PLAN OF THE RIVER VALLEY, fNC.
                    H4514            EVERCARE OF TEXAS, LLC
                    H4522            UNITEOHEALTHCARE INSURANCE COMPANY
                    H4590            PACIFICARE OF TEXAS, INC.




                                                         388
CO NFI DENTIAL AND PROPRIETARY                         EXHIBIT 20                                MARA2100776
FOIAEXEMPT
       Case 2:16-cv-08697-FMO-PVC                                                                                                Document 171-20                                  Filed 11/17/17                       Page 4 of 5 Page
      Attachment A                                                                  Risk Adjustment Attestation
                                                                                                       ID #:2491Con.tracts - 2011                                                                                                                  2
                                                                                               1111,dieare Retirement


                      H4604                                                                          UNITl;DHEALTHCARE OF UTAH, INC,
                      H4971                                                                          UNITEDHEALTHCARE INSURANCE COMPANY
                      H5005                                                                          PAC!FICARE OF WASHINGTON, INC.
                      H5008                                                                          UNITEDHEALTHCARE INSURANCECOMPANY
                      H5253                                                                          UNITEDHEALTHCARE OF WISCONSIN, INC
                      H5417                                                                          UNITEDHEALTHCARE INSURANCE COMPANY
                      H5424                                                                          UNITEDHEALTHCARE INSURANCE COMPANY
                                                                                                                      T
                      H5435                                                                          UNITEDHEAL HCARE INSURANCE COMPANY
                      H5440                                                                          UNITEDHEAlTHCARE INSURANCE COMPANY
                      H5507                                                                          UNITEDHEALTHCARE INSURANCE COMPANY
                      H5516                                                                          UN11'EDHEALTHCARE INSURANCE COMPANY
                      H5532                                                                          UNITEOHEALTHCARE INSURANCECOMPANY
                      H5652                                                                          UNITEDHEALTHCARE INSURANCE COMPANY
                      H5749                                                                          UNITEDHEALTHCARE INSURANCE COMPANY
                      H7187                                                                          UNITEDHEALTHCARE INSURANCE COMPANY
                      H7949                                                                                                 V
                                                                                                     PACIFICARE OF NE ADA, INC.
                      H8748                                                                          UNITEDHEAlTHCARE INSURANCE COMPANY
                      H9011                                                                          UNITEDHEAlTHCARE OF FLORIDA, INC.
                      R3175                                                                          UNITEDHEALTHCARE INSURANCE COMPANY
                      R5287                                                                          UNITEDHEALTHCARE INSURANCE COMP.ANY
                      R534.2                                                                         UNITEOHEALTHCARE
                                                                                                                 ....
                                                                                                                      .
                                                                                                                        ...
                                                                                                                                                         ,
                                                                                                                              INSUAANQE COMPAfllY OF NEW YORK
                     R7444                                                                           UNITEDHEAL\THCARE
                                                                                                                    .         INSURANCE COMPANY
                                                                                                                          , ::-·=� ""-''::"!�...'� --... . '",,
                                                                                                               \
                     85805                                                                           UNITEOHEAL
                                                                                                              / THCARE INSURANCE COMPANY OF NEW YORK
                      S5820
                                                                               .
                                                                                                     UNI I!:::� ·- ·-' ...._.A��
                      S5921                                                                              . . . . . THCARE INSURANCE COMPANY
                                                                                                     UNITEDHEAL
                                                                                                                      . ...... .,.                                              .
                             . / •••.../;.;,;\)i              ••• •
                                                                  • •• ) (\i
                                                                                               ...    \
                                                                                                       .·). ·.·
                                                                                                                 •
                                                                                                              · ··                     ..
                                                                                                                    · :: :::·:••:: •:···
                                                                                                              ·: .···
                                                                                                                                         /
                                                                                                                                                  ··::
                                                                                                                                                              .
                                                                                                                                                                    · · · · '' , \>ii<i i?J\i (.i. i< iii,i , > ti LJ .. · . . . .
                      H2905                                                                          SIERRA Hl=ALTH AND LIFE INSURANCE . COMPANY, INC.
                                                                                                     }
                                                                                                             .
                      H2931                                                                          HEALTH .Pl,A
                                                                                                                .. NQF NEVADA, INC.
                      R5674                                                                          SIERRA HEALTH AND LIFE INSURANCE COMPANY, INC.
                      . ,. ·•·•·•   ... ·•·•·•·., •·••· ·•     ..... -': :i"""'·· .
                                                                                    ::·                   ·····                              ..                               >> . . . .. \/\. {\.\ \ i >L.. /iJ/\it ··•
                                                                                                         .
                      H5407                                                                          CITRUS HEALTH CARE, INC.
                      H4527                                                                          PHYSICIANS HEALTH CHOICE OF TEXAS LLC
                         .. ... ....                             . ..        ... .... .
                      . ....... ........... . ... .... ............ . ................. ··•···•·· .....               . ..

                     iH0084                                                                        C                                                                                    SI             .. __
                      H6528                                                                          CARE IMPROVEMENT PLUS SOUTH CENTRAL INSURANCE CO.
                      H0294                                                                          CARE IMPROVEMENT PUJSWISCONSlN INSURANCE COMPANY
                      R3444                                                                          C.A.RE IMPROVEMENT F'LUS SOUTH CENTRAL INSURANCE CO,
                      R9896                                                                          CARE IMPROV1:MEN1' PLUS SOUTH CENTRAL INSURANCE CO
                      H5665                                                                          CARE IMPROVEMENT PLUS OF MARYLAND, INC
                      R6801                                                                          CARE IMPROVEMENT PLUS OF TEXAS INSURANCE COMPANY
                     (.? /\:(//                > ... }i <ti it.:( >·· · · ·······••··· · ........ J·<
                                                                                          ii
                                                                                                                                                                            ..... (ti        (\i)()··· · ··· · · ····· · · ·',?}   .,·.·•·•·
                      H1045                                                                          PREFERRED CARE PARTNERS ING.




                                                                                                                                                                  389
CO NFI DENTIAL AND PROPRIETARY                                                                                                                               EXHIBIT 20                                                                        MARA2100777
FOIAEXEMPT
       Case 2:16-cv-08697-FMO-PVC                 Document 171-20    Filed 11/17/17   Page 5 of 5 Page
                                                       ID #:2492




           April 9, 2013




           Ms. Marilyn Hunter
           Centers for Medicare &Medicaid Services
           7500 Security Blvd.
           Mailstop C4-21�26
           Baltimore, MD 21244


            Reference: 2011 Risk Adjustment Attestation

            Dear Ms. Hunter,

            Please find the enclosed the signed 2011 Risk Adjustment Attestation for
            UnitedHealth G roup Medicare business.

           If you have any questions, I may be reached by tefephone at 952-931-4654 or via
           email at sandra_k_rick@uhc.com.


           Sincerely,
             / ·,     /�)
                          "               ti
                                         l f:'J
              / l J . ,l( .. /. fa y/ '
              ; ._.,,..J
                      _          _
                         .t,/\/i·\
           <::p,,# y"'fffi t ' ;,'•
                                   1,,.,1_.,,�,



           ·s��dyRlck
           Senior Regulatory Affairs Analyst
                          r
           PSMG Regulato y Affairs




                                                          390
CO NFI DENTIAL AND PROPRIETARY                          EXHIBIT 20                             MARA2100778
FOIAEXEMPT
